Case 2:04-cr-20481-SH|\/| Document 11 Filed 04/21/05 Page 1 of 2 Page|D 10

UNITED STATEs DISTRICT CoURT '1"" t ' W
WESTERN DISTRICT oF TENNESSEE W §§ , at 1
Western ])ivision "'E"‘" 'i`"m°‘" w

 

UNI'I`ED STATES OF AMERICA

-vs- Case No. 2:04cr20481-Ml

MARCUS BUFOR])

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING] PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention hearing is reset for
FRIDAY, APRIL 22, 2005 at 3:00 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and F ederal Building, 167 North Main,

Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing.

,_.~'»---

Date: April 20, 2005 W/ a
ilwa

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

'I f not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1") are present. Subsection ( I) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j usti ce, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIBS) Urder of Temporary Detentt on

This document entered on the dockets eat in compliance
with Hute 55 and/or 32(b) FRCrP on éz'hz_{ ;§.§ / /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:04-CR-20481 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

